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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
________________________________________X
In re:                                                      Case No.: 8-18-75742-ast

      Kevin N. Colbert        Chapter 7                     Chapter 13



                          Debtor.
________________________________________X

  OBJECTION OF Shellpoint Mortgage Servicing, as servicer for THE BANK OF NEW
      YORK MELLON FKA THE BANK OF NEW YORK AS TRUSTEE FOR
     THECERTIFICATEHOLDERS OF THE CWABS, INC., ASSET-BACKED
      CERTIFICATES, SERIES 2005-10 TO DEBTOR’S CHAPTER 13 PLAN


       AND NOW COMES, Shellpoint Mortgage Servicing, as servicer for THE BANK OF

NEW YORK MELLON FKA THE BANK OF NEW YORK AS TRUSTEE FOR THE

CERTIFICATEHOLDERS OF THE CWABS, INC., ASSET-BACKED CERTIFICATES,

SERIES 2005-10 (“Mortgagee”) secured creditor and mortgage lien holder on the premises

owned by Debtor and located at 293 Warren Street, Uniondale, NY 11553, by its attorneys,

Pincus Law Group, PLLC, who hereby avers as follows:

   1. Mortgagee is a secured creditor by way of a mortgage representing a lien on Debtor’s real

       property as set forth above.

   2. Debtor filed the instant Chapter 13 Petition on August 24, 2018.

   3. Mortgagee will file a Proof of Claim on or before the bar date of November 2, 2018.

   4. As of the date of the filing of the instant Chapter 13 petition, the Debtor had estimated

       mortgage arrears of $237,391.64, and a contractual loan due date of June 1, 2011.

   5. Debtor’s proposed Chapter 13 Plan does not state the amount of arrears owed in Section

       3.2 b of the Plan and fails to provide for payment of arrears and Plan fails to provide for
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   ongoing post-petition payments to Mortgagee. The Plan proposes to request Loss

   Mitigation which is speculative and the correct post-petition amount should be provided

   for in the amount requested by Chapter 13 Plan.

WHEREFORE, Shellpoint Mortgage Servicing, as servicer for THE BANK OF NEW

YORK MELLON FKA THE BANK OF NEW YORK AS TRUSTEE FOR THE

CERTIFICATEHOLDERS OF THE CWABS, INC., ASSET-BACKED CERTIFICATES,

SERIES 2005-10 respectfully requests that confirmation be denied and that Debtor be

required to file an Amended Chapter 13 Plan inclusive of the correct amount of arrears and

the correct ongoing post-petition payment due Mortgagee.

                                                BY: /s/ Caryn Pincus
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